                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MISSOURI

                            CRIMINAL CASE COVER SHEET
 Division of Filing                       Place of Offense               Matter to be Sealed
   Western                  St. Joseph    Jackson                          Secret Indictment
   Central                  Southern      County and                       Juvenile
                                          elsewhere
   Southwestern
Defendant Information
Defendant Name               David Bramlett (01)
Alias Name
Birthdate                    October 21, 1988

Related Case Information
Superseding Indictment/Information     Yes       No if yes, original case number 23-CR-00272-SRB
New Defendant                           Yes  No
Prior Complaint Case Number, if any 23-MJ-00148-LMC (WBG)
Prior Target Letter Case Number, if any

U.S. Attorney Information
AUSA Joe Marquez

Interpreter Needed
   Yes       Language and/or dialect
  No

Location Status
Arrest Date 12/07/2023
  Currently in Federal Custody
  Currently in State Custody                        Writ Required            Yes      No
  Currently on Bond                                 Warrant Required         Yes      No

U.S.C. Citations
Total # of Counts     5
 Set      Index Key/Code/Offense Level       Description of Offense Charged           Count(s)
                                             Conspiracy to Distribute
   1     21:841A=CD.F/6801/4                                                               1
                                             Methamphetamine and Fentanyl
                                             Possession of a Controlled Substance
   2     21:841A=CD.F/6801/4                 with the Intent to Distribute,                2
                                             Methamphetamine
                                             Possession of a Controlled Substance
   3     21:841A=CD.F/6801/4                 with the Intent to Distribute,                3
                                             Methamphetamine and Fentanyl
                                   Possession of Firearms and Drug
  4     18:924C.F/7830/4                                                      4
                                   Trafficking
  5     18:922G.F/7830/4           Felon in Possession of a Firearm            6
  6     21:853.F/6911/4            Criminal Forfeiture Allegation             FA
                           (May be continued on reverse)


Date   6/27/2024                    Signature of AUSA /s/ Joseph M. Marquez




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